      Case 1:22-cr-00673-LAK         Document 454-1       Filed 06/17/24      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                   C.A. No. 1:22-cr-673 (LAK)


 United States of America


 v.


 Samuel Bankman-Fried a/k/a “SBF”,


                            Defendant.




      DECLARATION OF BROOKE ALEXANDER IN SUPPORT OF ANCILLARY
           PETITION FOR HEARING TO ADJUDICATE VALIDITY OF
          LEGAL INTEREST AND RIGHT TO FORFEITED PROPERTY
                         UNDER 21 U.S.C. § 853(n)


       I, Brooke Alexander, hereby declare under penalty of perjury that the foregoing statements

are true and correct:

       1.      I am an attorney duly licensed to practice law in the State of New York and

am a partner with the law firm of Boies Schiller Flexner LLP. I represent Claimants Alexander

Chernyavsky, Kyle Rupprecht, Mike Livieratos, and Sunil Kavuri on behalf of themselves and as

representatives of all FTX Victims as a partner at the firm who has been appointed Co-Lead

Counsel in In re: FTX Cryptocurrency Exchange Collapse Litigation, MDL No. 3076, pending

before the Honorable Judge K. Michael Moore in the Southern District of Florida. This declaration


                                               1
      Case 1:22-cr-00673-LAK         Document 454-1        Filed 06/17/24     Page 2 of 2




is based on personal knowledge and is true and accurate to the best of my knowledge and

recollection.

       2.       Attached as Exhibit A is a true and correct copy of the FTX.US User Agreement

dated May 6, 2022.

       3.       Attached as Exhibit B is a true and correct copy of the FTX International User

Agreement dated May 13, 2022.

       4.       Attached as Exhibit C is a true and correct copy of an Expert Report submitted by

Lee Reiners, dated June 14, 2024.

Dated: June 14, 2024




                                                     /s/ Brooke Alexander

                                                    Brooke Alexander
                                                    BOIES SCHILLER FLEXNER LLP
                                                    333 Main Street
                                                    Armonk, NY 10504
                                                    914-749-8200
                                                    balexander@bsfllp.com




                                                2
